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               UNITED STATES BANKRUPTCY COURT
                               Western District of Kentucky
      IN RE:                                                         Case No.:20−10195−jal
      Phillip Clay Huckelby
      and Lisa Susan Huckelby
                                                                     Chapter: 7
                                 Debtor(s)                           Judge: Joan A. Lloyd




                                             NOTICE
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      Please be advised that the following matter has been Entered by the Court on this date:

      Notice of Continuance of the Section 341 Meeting and the extension of certain
      deadlines pursuant to GO 2020−5. Please refer to the General Order on the Court's
      website for additional information as to all deadlines affected and for telephonic
      procedures for Section 341 Meetings. Counsel for the debtor is responsible for ensuring
      their clients are aware of the telephonic process the US Trustee has established. Section
      341 meeting to be held on 4/29/2020 at 09:30 AM at Telephonic Hearing. Last day to
      oppose discharge or dischargeability is 6/29/2020. (Preston, T)



      Dated: 4/2/20
                                                            FOR THE COURT
      By: tmp                                               Elizabeth H. Parks
      Deputy Clerk                                          Clerk, U.S. Bankruptcy Court
